         Case 1:22-cv-10019-JSR Document 147 Filed 05/22/23 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK



  Jane Doe 1, individually and on behalf of
  all others similarly situated,
                                                                      Case No. 1:22-CV-10019 (JSR)
     Plaintiff,

            v.

  JPMorgan Chase Bank, N.A.,

     Defendant.



           DECLARATION OF DAVID BOIES IN FURTHER SUPPORT OF
        PLAINTIFF JANE DOE 1’S MEMORANDUM OF LAW IN OPPOSITION
          TO DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO
                       EXCLUDE PLAINTIFF’S EXPERT
I, David Boies, declare as follows:

       1.         I am a member in good standing of the bar of the State of New York and am

admitted to practice before this Court. I am the Chairman and a Managing Partner of Boies Schiller

Flexner (“BSF”). I make this declaration on my own personal knowledge, and if called as a witness

to testify, I could and would testify competently to the following facts.

       2.         I submit this declaration in further support of the motion filed by Jane Doe 1 for

class certification and approval of BSF as Class Counsel.

       3.         Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the April 27,

2023, deposition of Kimberly Mehlman-Orozco, designated confidential by JPMC pursuant to the

Protective Order in this matter and filed under seal.
         Case 1:22-cv-10019-JSR Document 147 Filed 05/22/23 Page 2 of 3




       4.      Attached hereto as Exhibit 2 is a true and correct copy of Exhibit 6 from the April

7, 2023 deposition of Mary Casey, designated confidential by JPMC pursuant to the Protective

Order in this matter and filed under seal.

       5.      Attached hereto as Exhibit 3 is a true and correct copy of Exhibit 7 from the April

7, 2023 deposition of Mary Casey designated confidential by JPMC pursuant to the Protective

Order in this matter and filed under seal.

       6.      Attached hereto as Exhibit 4 is a true and correct copy of a document produced by

JPMC, bates stamped JPM-SDNYLIT-W-0021942 designated confidential by JPMC pursuant to

the Protective Order in this matter and filed under seal.

       7.      Attached hereto as Exhibit 5 is a true and correct copy of a document produced by

JPMC, bates stamped JPM-SDNYLIT-00100935 designated confidential by JPMC pursuant to the

Protective Order in this matter and filed under seal.

       8.      Attached hereto as Exhibit 6 is a true and correct copy of a document produced by

JPMC, bates stamped JPM-SDNYLIT-00029817 designated confidential by JPMC pursuant to the

Protective Order in this matter and filed under seal.

       9.      Attached hereto as Exhibit 7 is a true and correct copy of excerpts from the May

3, 2023 deposition of William Langford designated confidential by JPMC pursuant to the

Protective Order in this matter and filed under seal.

       10.     Attached hereto as Exhibit 8 is a true and correct copy of a document produced by

JPMC, bates stamped JPM-SDNYLIT-0036565 designated confidential by JPMC pursuant to the

Protective Order in this matter and filed under seal.

       11.     Attached hereto as Exhibit 9 is a true and correct copy of JPMC’s Second Set of

Interrogatories Responses to 30(b)(6).



                                                 2
         Case 1:22-cv-10019-JSR Document 147 Filed 05/22/23 Page 3 of 3




       12.     Attached hereto as Exhibit 10 is a true and correct copy of documents produced by

JPMC, bates stamped JPM-SDNYLIT-00100983-00100985 designated confidential by JPMC

pursuant to the Protective Order in this matter and filed under seal.

       13.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the March

15th deposition of Mary Erdoes designated confidential by JPMC pursuant to the Protective Order

in this matter and filed under seal.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: May 22, 2023                           Respectfully Submitted,


                                                      By: /s/ David Boies

                                                      David Boies
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